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 3 George P. Trejo, Jr.
   THE TREJO LAW FIRM, INC.
 4 701 N. 1st Street, Ste. 100
   Yakima, WA 98901
 5 (509) 452-7777

 6
     Attorney for Defendant
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00238-GEB
11
                                  Plaintiff,            STIPULATION REGARDING CONTINUANCE OF
12                                                      HEARING ON JUDGMENT AND SENTENCE
                            v.                          [PROPOSED] FINDINGS AND ORDER
13
     ISIDRO ALCAZAR-TAPIA,                              DATE: June 12, 2015
14                                                      TIME: 9:00 a.m.
                                 Defendants.            COURT: Hon. Garland E. Burrell, Jr.
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16
                                                STIPULATION
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            It is hereby stipulated by and between the UNITED STATES OF AMERICA, by and through,
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     Christiaan H. Highsmith, Assistant United States Attorney, and George Paul Trejo, Jr., counsel for
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     Defendant Isidro Alcazar-Tapia, that the hearing on Judgment and Sentence currently set for April 3,
20
     2015, be vacated and reset for June 12, 2015 at 9:00 a.m.
21
            The continuance of the Judgment and Sentence is necessary because the defense counsel has had
22
     Trial conflicts and has no been available to participate in PSR interview and need additional time to
23
     complete.
24

25 Dated: March 5, 2015                                     BENJAMIN B. WAGNER
                                                            United States Attorney
26
                                                            /s/ CHRISTIAAN H.HIGHSMITH
27                                                          CHRISTIAAN H.HIGHSMITH
                                                            Assistant United States Attorney
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       STIPULATION RE: CONTINUE SENTENCING;             1
       [PROPOSED] FINDINGS AND ORDER
              Case 2:14-cr-00238-JAM Document 55 Filed 03/09/15 Page 2 of 2

     Dated: March 5, 2015                                   THE TREJO LAW FIRM, INC.
 1                                                          /s/ George Paul Trejo
                                                            George Paul Trejo
 2                                                          Counsel for Defendant
 3                                                          Isidro Alcazar-Tapia

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 6                                 [PROPOSED] FINDINGS AND ORDER

 7         The court having reviewed the records and files herein and considered the

 8         stipulation of the parties, IT IS HEREBY ORDERED

 9                 1.      The Stipulation for a continuance of Judgment and Sentence is GRANTED.

10                         The sentencing presently set for April 3, 2015 is hereby continued to June 12,

11                         2015 at 9:00 a.m.

12         IT IS SO FOUND AND ORDERED.

13   Dated: March 6, 2015

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       STIPULATION RE: CONTINUE SENTENCING;             2
       [PROPOSED] FINDINGS AND ORDER
